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AFFIDAVIT

Affiant adopts all factual claims
in this Motion and/or referencing
this Affidavit as true and correct
extensions of this Affidavit, ae-
even if they do not explicitly
appear here below.

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sTATE or ILLINOIS

ERIC D_EXTER wELcH

Fed. Reg. #10444 089
Federal Bureau of Prisons
U. S. P. Marion

Marion, IL 62959

I, ERIC DEXTER WELCH, first being duly sworn and states that if called upon
to testify in this matter I would testify as follows, to-wit:

1. I am a 41~year old citizen of the United States and tender this infor-
information voluntarily, and without external influence.

2. I was arrested on May 29, 2007, pursuant to a State Police investigation
involving an adult prostitute, an undercover officer/agent posing as
an underage prostitute, and the use of a telecommunications device which
"spoofed" another, non-involved party‘s number. [i.e; a cell phone with
minutes purchased and activated as an ‘emergency' cell phone; the number
appearing on the called party' s end was not 'programmed'~in, per se, but
rather was semi-random]. j,

3. It is further my recollection that Mark Wisti, my defense attorney at the
time, entered the affirmative defense of entrapment in open court in
June, 2007. Mr. Wisti and I both agreed this was a meritorious defense,
as was expressed at sentencing, indirectly (August’31, 2007, Sentencing

Tr. pp. 27-28):

Mr. Wisti: ...Ah, what occured here is that the Michigan State
Police used a prostitute to contact Mr. Welch and
advise him that she had a...fourteen~year-old girl
to have sex with him, and Mr. Welch, and 1 don't
condone this behavior at all, Your Honor, bit on that
hook, line, and sinker. But this is not a case where
he was out preying on the Internet and approached
someone at random, but was in fact picked out by the

police and this prostitute.

This defensive strategy was abandoned, however, once a forensic computer
exam by Rajala's agent Timothy Blanksvard revealed unallocated space web-
site data of child pornography, buried in with and outnumbered by legal
pornography. The discovery was both shocking and repulsive to me, and
my wife Krista. We were both present at all plea meetings, after its
discovery. This discovery took place:inEerly July, 2007, a little over
a month after seizure of the evidence.

4. It is further mv reoollection, that my defense changed dramatically. It
changed in the sense it went from a well-publicized event to one shrouded
.in secrecy. These events took place on or about the second week of July,

2007.

EX/é/ 1417Z (`

 

 

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'5. lt is further my recollection, that both my wife and I met at Mr. Wisti's (
office to discuss the terms of the plea agreement. In addition to the
Accosting charge I was arrested under, and pursuant to a phone call that
took place, more charges became cognizable. State authorities Strome and

;Tom Rajala administered the Telecommunicationschargeas a felony to set-
up a "three strikes" trigger for me. Mr. Wisti, ny wife Krista,
and l were all in the room, and all able to hear the voices on the other .
end of the phone line, Rajala and Strome promised to not seek any addi-
tional charges, and also to not seek a federal prosecution and not turn
any evidence over. lt was further added that state authorities (Strome,
Rajala, and their agents) would seek and obtain the permissions to make
such a plea, and they would_get back in contact with us, regarding con~
firmation. The evidence was to be destroyed after appeal rights were
passed. Any bargained charges of child pornography were ha be estopped
by the pleaand,binding on state and federal`jurisdictions.

61 It is further my recollection that, with my wife and Mr. Wisti present at
court the day the plea was entered on July 31, 2007, we had a private
meeting off to the side of the courtoom. Mr. Wisti explained that he had
discussed the plea structure with Mr. Strome, Mr. Rajala, and had a sep-
arate meeting with the Honorable Judge Hood. The prosecutor Strome and
Detective Tom Rajala indicated that the same plea bargain was unchanged
and was good, however, l was not to say anything about the child porn-
ography in open court or mention anything about its not being turned -
over to the federal government. Without a doubt in the world)jl based
my acceptance and agreement of the plea on this promise. Being unlearned

l in law at the time, l considered such negotiations.conducted in secrecy
to be the norm and relied on the prosecutor, Tom Rajala, and my attorney

all making good-faith efforts.

7. l commenced a healthy,reformedlife in 2007. My wife and I started a
family, and moved to Wisconsin, where l obtained employment as an '
'electrical engineer in February of 2008 until my federal trial on

October 4- 5 Of ZOTO.

8. _;I_had a reasonable expectation that my plea was good, completed success-
fully, and any evidence had been destroyed or was estopped by a S€al
of some kind against inter-governmental dissemination and/or use. I had
no reason to expect Rajala would prostitute images of children being
abused in order to obtain another conviction for me. Indeed, after my
successful completion of jail and probation, these images became the

_ private collection of Rajala and-his agents; images which should have

. been condemned to the fire, in my belief and opinion.

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Further Deponent/Affiant Saith Not, :::11/. //// f/Zf;_

. ` :2\ ;L; Eric D. Welch, #10444~ 089
On ChlS l:;_day Of _l_l:£g£;£;[§__, 2012, before me aNotary Public in and
for said County, personally appeared the above¢named-Eric D. WEDCH, and made
oath.that he has read the foregoing Affidavit by'himself subscribed and knows
the contents thereof and that the same is true of his own knowledge except as
to those matters therein stated to be on his information and belief and-as
to those matters he believes it to be true. ..' - 7 w r“i“

OFF|CML _SEAL
ER|G EDM!STER

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‘ Notary Pu__blic - State of minds
My Commission Expires Ocr 19, 2015 ‘ £,XA,A /"7L C

 

